          Case 1:21-cr-00637-TSC Document 19 Filed 04/14/22 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                  §
   UNITED STATES OF AMERICA                       §
                                                  §
   V.                                             §          CAUSE NO. 21-CR-637-TSC
                                                  §
   CORY RAY BRANNAN                               §


                         DEFENDANT’S MOTION TO MODIFY
                         CONDITIONS OF PRETRIAL RELEASE

TO THE HONORABLE JUDGE OF SAID COURT:

        The Defendant, Cory Brannan, by and through his attorney of record, hereby moves the

Court for an Order Modifying the Defendant’s Conditions of Pretrial Release. Specifically, the

Defendant requests that the requirement to submit and report to the Pretrial Services Agency (PSA)

in the Western District of Texas/Midland-Odessa Division (paragraphs 7(a) and 7(t) of the Order

Setting Conditions of Release) be modified to have the Defendant submit and report to the PSA in

the Western District of Texas. The Defendant requests that the specific Midland-Odessa Division

reporting requirement be removed.

        In support of his motion the Defendant states that he desires to move from the Midland-

Odessa area to Lake Canyon, Texas. Lake Canyon, Texas is in the Western District of Texas, but

it is quite a distance from Midland-Odessa, Texas.

        It is the Defendant’s understanding and belief that the PSA, Western District of

Texas/Midland-Odessa Division and the PSA for the District of Columbia do not have an objection

to said modification of the Defendant’s Pretrial Release Conditions.
          Case 1:21-cr-00637-TSC Document 19 Filed 04/14/22 Page 2 of 3




                                               Respectfully submitted.

                                               MAUREEN SCOTT FRANCO
                                               Federal Public Defender


                                               /S/ JOHN J. VELASQUEZ
                                               Assistant Federal Public Defender
                                               Western District of Texas
                                               200 East Wall St., Room 110
                                               Midland, Texas 79701
                                               Tel.: (830) 308-6040
                                               Bar Number: Nebraska 18183

                                               Attorney for Defendant




                                 CERTIFICATE OF SERVICE
        I hereby certify that on the 14th day of April, 2022, I filed the foregoing Notice of Attorney
Appearance using the CM/ECF system which will give electronic notification to all attorneys of
record.

April Ayers-Perez
Assistant United States Attorney
11204 McPherson Rd., Suite 100A
Laredo, Texas 78045


                                               /s/ JOHN J. VELASQUEZ
                                               Attorney for Defendant
            Case 1:21-cr-00637-TSC Document 19 Filed 04/14/22 Page 3 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   §
   UNITED STATES OF AMERICA                        §
                                                   §
   V.                                              §         CAUSE NO. 21-CR-637-TSC
                                                   §
   CORY RAY BRANNAN                                §


                                             ORDER

          On this date came on to be considered the Defendant's Motion to Modify Conditions of

Pretrial Release and the Court, having considered the motion and the premises therefore is of the

opinion that it should be GRANTED.

          It is therefore ORDERED that the conditions of release be amended to allow the

defendant, Mr. Brannan to move from the Midland-Odessa Pretrial Services Agency to the Lake

Canyon, Texas Pretrial Services Agency, and that the Defendant be allowed to the Pretrial

Service Agency in the Western District of Texas. All other conditions of release shall remain in

effect.

          So Ordered on this the       day of                   , 2022.




                                                TANYA S. CHUTKAN
                                                UNITED STATES DISTRICT JUDGE
